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                                                      August 12, 2021


By Letter Via ECF
Hon. Steven L. Tiscione
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

       Re:     Kraus v. Snow Teeth Whitening LLC et al.
               2:20-cv-6085 (JMA) (ST)

Dear Judge Tiscione:

         We represent Plaintiff Burton Kraus (“Plaintiff”) in the above-captioned action. We write
with respect to the Initial Settlement Conference scheduled for this Friday, August 13, and to seek
the Court’s guidance. We sought to confirm that our client would be in attendance as required by
Your Honor’s rules but learned that Plaintiff is on vacation and will not be able to participate in
person. (We are hopeful he will be available by telephone.) There was apparently a
miscommunication about the new date of the conference, which had been previously scheduled
for July 29. We are also unsure if Defendants plan on attending this Friday, especially in light of
Defendants’ settlement offer. We are also unsure if the Court wishes to proceed with the
conference in light of the substantial difference between the parties’ positions and disputes about
the sufficiency of Defendants’ document production. We have, this morning, simultaneously with
this letter, filed a letter motion to compel.
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        The in-person conference also creates obstacles for some members of our team in light of
the most recent state of the pandemic. We would welcome a telephonic conference on the parties’
discovery disputes and the status of settlement. Alternatively, some of Plaintiff’s counsel will be
able to attend the settlement conference in person this Friday with our client hopefully available
telephonically. In any event, the undersigned will be able to attend the conference in person. We
respectfully request the Court’s guidance in this matter.

                                                     Respectfully submitted,

                                                     /s/ Steven G. Mintz
                                                     Steven G. Mintz

cc:    Counsel of record

       Via ECF
